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Michael I. Neil (CSB# 40057)

David P. Hall (CSB#196891) ~~ ENTERED

NEIL, DYMOTT, FRANK, HARRISON FILED

& McFALL APLC e
1010 Second Avenue, Suite 2500 ,

San Diego, CA 92101-4906 | | JAN 17 2006

Telephone: 619.238.1712
Facsimile: 619.238.1562

PSEA 2RUIPPOY COURT

Attorneys for Defendant CRN DISTHICT OF CALIFORNIA
SMOOTHIE KING FRANCHISES, INC. py DEPUTY
DIXIE HEALTH OF PENSACOLA, INC.

dba SMOOTHIE KING

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
Inre Case No. 05-06040-JH11

METABOLIFE INTERNATIONAL, INC.,
a California corporation

(Jointly administered with Case No. 05-6041)

Chapter 11
Debtor,
RS No. CC-1
In re
PROOF OF SERVICE
ALPINE HEALTH PRODUCTS, LLC, a
Delaware limited liability company, Honorable John J. Hargrove

Debtor,

PETER C. NEGER, as the Court-appointed
Defendants’ Liaison Counsel in Jn re
Ephedra Products Liability Litigation, 04
MD 1598 (S.D.N.Y.),

Moving Party.

V.

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METABOLIFE INTERNATIONAL, INC., )
a California corporation, ALPINE HEALTH)
PRODUCTS, LLC. A Delaware limited )
liability company,

Respondents.

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DECLARATION OF PROOF OF SERVICE

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I, the undersigned individual, declare: That I am, and was at the time of service of the papers
herein referred to, over the age of eighteen years, and not a party to the action; and I am employed in
the County of San Diego, California, in which county the within-mentioned mailing occurred. My
business address is NEIL, DYMOTT, FRANK, HARRISON & McFALL APLC, 1010 Second
Avenue, Suite 2500, San Diego, California, 92101.

I caused to be served the following documents:

1. PROOF OF CLAIM FOR SMOOTHIE KING FRANCHISES, INC.

2. DECLARATION OF PROOF OF SERVICE.

by placing a true copy of each document in a separate envelope addressed to each addressee,
respectively as follows: SEE ATTACHED SERVICE LIST

[xx] BY MAIL - As follows: I am "readily familiar" with the firm's practice of collection and
processing correspondence for mailing. Under that practice it would be deposited with the U.S.
Postal Service on that same day with postage thereon fully prepaid at San Diego, California in
the ordinary course of business. The envelope was sealed and placed for collection and mailing
on this date following our ordinary practices. I am aware that on motion of the party served,
service is presumed invalid if postal cancellation date or postage meter date is more than one
day after date of deposit for mailing in affidavit.

J PERSONAL SERVICE THROUGH KNOX ATTORNEY SERVICE to the following:
(Separate proof of personal service will be filed.)

{] OVERNIGHT VIA FEDERAL EXPRESS (to the following:) I am "readily familiar" with
the firm's practice of processing correspondence for mailing overnight via Federal Express.
Under that practice it would be deposited in a Federal Express drop box, in a Federal Express
envelope indicating overnight delivery, with delivery fees provided for, on that same day, at
San Diego, California.

[] BY FAX - As follows: I personally sent to the addressee's telecopier number a true copy of the
above-described documents. Thereafter I sent a true copy in a sealed envelope addressed and
mailed as indicated above.

I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

Executed on January , 2006, at San pe a
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DECLARATION OF PROOF OF SERVICE

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Office of the U.S. Trustee:

Counsel for Debtor:

Counsel to OCC:

Counsel for the MDL 1598
Defendants’ Liaison Counsel:

Counsel to Shareholders:

Counsel to Retailer Committee:

Tiffany Carroll, Esq.
Office of the U.S. Trustee
402 W. Broadway #600
San Diego, CA 92101

David L. Osias

Debra A. Riley

Allen Matkins Leck Gamble & Mallory Lip
501 West Broadway, 15th Floor

San Diego, California 92101

David J. Molton, Esq.
John Biedermann, Esq.
Brown, Rudnick
Seven Times Square
New York, NY 10036

Ali Mojdehi, Esq.

Christine E. Baur, Esq.
Baker & McKenzie

101 W. Broadway, 12 Floor
San Diego, CA 92101

William R. Baldiga, Esq.
Brown Rudnick

One Financial Center
Boston, MA 02111

Christopher Celentino

Mike R. Bistrow

DUANE MORRIS LLP

101 West Broadway, Suite 900
San Diego, A 92101

Victor A. Vilaplana, Esq.
Seltzer Caplan McMahon Vitek
750 B Street #2100

San Diego, CA 92101

Peter Gurfein, Esq.

Akin Gump

2029 Century Park East #2400
Los Angeles, CA 90067

Laura S. Taylor, Esq.

Sheppard Mullin Richter & Hampton
501 W. Broadway, 19m Floor

San Diego, CA 92101

DECLARATION OF PROOF OF SERVICE

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Counsel to IdeaSphere, Inc.

Request for Notice:

Peter L. Gilhuly, Esq.
Latham & Watkins

633 West Fifth St. #4000
Los Angeles, CA 90071

GNCI Oldco, et al.
c/o Michael S. Etkin
Lowenstein Sandler
65 Livingston Avenue
Roseland, NJ 07068

Wal-Mart, Inc.

c/o Shook, Hardy & Bacon (Todd
Ruskamp)

2555 Grand Blvd.

Kansas City, MO 64108-2613

Wal-Mart, Inc.

c/o Shook, Hardy & Bacon (Paul LaScala)
5 Park Plaza #1600

Irvine, CA 92614-2546

Navistar Leasing Co.
425 N. Martingale Rd. 18m FI.
Schaumburg, IL 60173

CVS Pharmacy, Inc.
Domenic E. Pacitti, Esq.
Saul Ewing LLP

PO Box 1266
Wilmington, DE 19899

Willard Westfall

c/o Arnold Levin

Levin, Fishbein, Sedran & Berman
$10 Walnut St. #500

Philadelphia, PA 19106

City of Memphis/Norwest ISD
Linebarger Goggan

2323 Bryan St. #1600

Dallas, TX 75201

Harris County/City of Houston etc.
c/o John P. Dillman, Esq.

PO Box 3064

Houston, TX 77253-3064

DECLARATION OF PROOF OF SERVICE

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William M. Audet, Esq.
Alexander, Hawes & Audet
152 N. 3ra St. #600

San Jose, CA 95112

James P. Frantz, Esq.
Frantz, Townsend

600 W. Broadway #1200
San Diego, CA 92101

Charlotte C. McDaniel, Esq.
Grodner & Assoc.

2223 Quail Run Dr. #B-1
Baton Rouge, LA 70808

Walton & Assoc.
600 W. Broadway #1530
San Diego, CA 92101

Riverside Claims LLC
PO Box 626
Planetarium Station
New York, NY 10024

Target Corporation

Dennis M. Ryan, Esq.

Faegre & Benson

90 S. Seventh St. #2200
Minneapolis, MN 55402-3901

Martha C. Sarra, Esq.

The Kroger Co. (Law Dept)
1014 Vine Street _
Cincinnati, OH 45202

Navistar Financial Corp.

c/o Marshall Goldberg, Esq.
Glass & Goldberg

21700 Oxnard St. #430
Woodland Hills, CA 91367-3665

HEB Grocery Co., L.P.

c/o Plunkett & Gibson, Inc.
Attn: Patrick H. Autry

70 N.E. Loop 410 #1100
San Antonio, TX 78216

The Chemins Company, Inc.
Attn: Lawrence E. Duffy, Jr.
c/o Walsworth, Franklin

One City Blvd. West, 5t Floor
Orange, CA 92868-3677

DECLARATION OF PROOF OF SERVICE

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William Green

c/o Robert G. Rikard, Esq.
1303 Blanding St.
Columbia, SC 29202

Bally Total Fitness

c/o Janet A. Shapiro, Esq.
212 S. Gale Drive
Beverly Hills, CA 90211

Metro Networks Communication LP
c/o Lauro M. Bueno, Esq.

40 West 57m St. 15 FI.

New York, NY 10019

TN Dept. of Revenue

c/o TN A.G. Office/Bkcy Div.
PO Box 20207

Nashville, TN 37202-0207

Donna Grodner, Esq.
Grodner & Assoc.

2223 Quail Run Dr. #B-1
Baton Rouge, LA 70808

Ronnie Allen

Attn: Lance H. Lubel

c/o Heard, Robins, Cloud & Lubel
500 Dallas #3100

Houston, TX 77002

Ronnie Allen

c/o Benckenstein & Oxford LLP
3535 Calder Ave. 314 FI.

PO Drawer 150

Beaumont, TX 77704

QAD, Inc. (Legal Dept.)
Jason Pickering, Esq.
10,000 Midlantic Dr.
Mt. Laurel, NJ 08054

B. Wayne Williams, Esq.

Webb Sanders & Williams PLLC
363 North Broadway

P. O. Box 496

Tupelo, MS 38802-0496

Reagan D. Wise

Webb Sanders & Williams PLLC
363 North Broadway

P. O. Box 496

Tupelo, MS 38802-0496

DECLARATION OF PROOF OF SERVICE

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Alan Vanderhoff, Esq.
Vanderhoff Law Group
701 "B" Street, Suite 1000
San Diego, CA 92101

NBTY (Vitamin World, Inc.)/Rexall
Sundown, Inc.

c/o Lisa M. Golden, Esq.

Jaspan Schlesinger Hoffman

300 Garden City Plaza

Garden City, NY 11530

Chattem, Inc.

c/o Buchalter Nemer

1000 Wilshire Blvd. #1500
Los Angeles, CA 90017-5704

DECLARATION OF PROOF OF SERVICE

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